                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

PLANNED PARENTHOOD OF                               )
TENNESSEE AND NORTH                                 )
MISSISSIPPI, et al.,                                )
                                                    )
     Plaintiffs,                                    )          NO. 3:20-cv-00740
                                                    )
v.                                                  )          JUDGE CAMPBELL
                                                    )          MAGISTRATE JUDGE NEWBERN
HERBERT H. SLATERY, et al.,                         )
                                                    )
     Defendants.                                    )

                                               ORDER

         The Court held a status conference in this case on October 13, 2020. During the conference

 and after consultation with the parties about the availability of witnesses, the Court set the hearing

 on Plaintiffs’ Motion for Preliminary Injunction (Doc. No. 4) for December 1, 2020, beginning at

 3:00 p.m., to continue on December 2, 2020, at 10:00 a.m.; and if necessary, to continue on

 December 14, 2020, at 10:00 a.m.

         On or before November 16, 2020, the parties shall file the following: (1) witness lists; (2)

 exhibit lists; and (3) any supplemental affidavits or declarations. On or before November 23, 2020,

 the parties shall file the following: (1) any depositions and/or deposition designations; (2) any

 stipulations; (3) any motions in limine; and (4) any supplemental briefs. No witness shall testify

 live at the preliminary injunction hearing unless the party calling such witness to testify has

 identified and made that witness available for a deposition prior to the hearing.

         The Temporary Restraining Order (Doc. No. 33) is EXTENDED until the Court issues a

 ruling on the preliminary injunction motion. This case is REFERRED to the Magistrate Judge for




     Case 3:20-cv-00740 Document 38 Filed 10/13/20 Page 1 of 2 PageID #: 855
management of discovery relating to the preliminary injunction hearing.

       It is so ORDERED.



                                                   ____________________________________
                                                   WILLIAM L. CAMPBELL, JR.
                                                   UNITED STATES DISTRICT JUDGE




                                                   2

    Case 3:20-cv-00740 Document 38 Filed 10/13/20 Page 2 of 2 PageID #: 856
